
PER CURIAM
*677Melford Newlon appeals the denial without an evidentiary hearing of his Rule 24.0351 motion for post-conviction relief. Newlon claims that the motion court clearly erred because his convictions on nine counts of the class C felony of stealing and his nine concurrent sentences of five years' imprisonment were unlawful under the Missouri Supreme Court's decision in State v. Bazell , 497 S.W.3d 263 (Mo. banc 2016), and counsel therefore gave ineffective assistance by failing to file a motion to dismiss the charges and by advising him to plead guilty. We affirm.
The judgment of the motion court is based on findings of fact that are not clearly erroneous. An extended opinion would have no precedential value. The parties have been furnished with a memorandum for their information only, setting forth the reasons for this order pursuant to Rule 84.16(b).

All rules references are to the Missouri Supreme Court Rules (2017).

